Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01292

  JOHN MEGGS, an Individual, and
  ACCESS 4 ALL, INC., a Florida Non-Profit Corporation

                  Plaintiffs,

  vs.

  DCI REAL ESTATE NORTH ACADEMY LLC, a Colorado Limited Liability Company,

              Defendant.
  __________________________________________________________________________/
   ____________________________________________________________________________________________

                                          COMPLAINT
   ____________________________________________________________________________________________

                                             Introduction

         Plaintiffs, JOHN MEGGS, an individual, and ACCESS 4 ALL, INC., a Florida Non-Profit

  Corporation ("Plaintiffs" or "Plaintiffs"), on their behalf and on behalf of all other-mobility

  impaired individuals similarly situated hereby sues the Defendant, DCI REAL ESTATE NORTH

  ACADEMY LLC, a Colorado Limited Liability Company ("Defendant"), for injunctive relief,

  damages, attorney's fees, litigation expenses, and costs pursuant to the Americans with Disabilities

  Act, 42 U.S.C. §12181 et seq. ("ADA") and the Colorado Anti-Discrimination Act, C. R. S. § 24-

  34-601 et seq. ("CADA").

                                             The Parties

         1.       Plaintiff, JOHN MEGGS, is an individual over eighteen years of age and is

  otherwise sui juris. Although a resident of California, Mr. Meggs splits his time between California

  and Colorado.


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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 2 of 14




            2.       Plaintiff, ACCESS 4 ALL, INC., is a non-profit corporation with a mission of

  ensuring enjoyment and equal access for disabled persons in all places of public accommodation.

  This entity was formed under the laws of the State of Florida and remains in good standing.

            3.       Defendant, DCI REAL ESTATE NORTH ACADEMY LLC, a Colorado Limited

  Liability Company, owns, leases, leases to, or operates a place of public accommodation, in this

  instance a restaurant, alleged by the Plaintiffs to be operating in violation of Title III of the ADA

  and the CADA.

                                                  Jurisdiction and Venue

            4.       Defendant's property is a restaurant know as Texas T-Bone Steakhouse (“Texas T-

  Bone” or the “Restaurant”) located at 5245 North Academy Boulevard, Colorado Springs, CO

  80918, El Paso County ("Subject Property").

            5.       Venue is properly located in the District of Colorado because venue lies in the

  judicial district of the property situs. The Defendant's property is located in and does business

  within this judicial district.

            6.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant's violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.1

            7.       Jurisdiction over the state law claim vests with this Court pursuant to 28 U.S.C §

  1367.

            8.       The Defendant, DCI REAL ESTATE NORTH ACADEMY LLC, owns and/or

  operates a place of public accommodation as defined by the ADA and the regulations



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      See, also, 28 U.S.C. § 2201 and 28 U.S.C. § 2202

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 3 of 14




  implementing the ADA. The Defendant is thus required to comply with the obligations of the

  ADA.2

             9.      Plaintiff, JOHN MEGGS, is an individual with disabilities as defined by and

  pursuant to the ADA. Mr. Meggs is a paraplegic, with no use of his legs, stemming from a severe

  spinal cord injury and therefore has a physical impairment that substantially limits many of his

  major life activities3 including, but not limited to, not being able to walk or stand. Mr. Meggs, at

  all times, requires the use of a wheelchair to ambulate.

             10.     Plaintiff organization, ACCESS 4 ALL, INC., is comprised of individuals with

  disabilities, as defined by the ADA. The primary purpose of this organization is to represent the

  interest of its members by ensuring that they are not discriminated against at places of public

  accommodation.

                                                     Factual Context

             11.     Mr. Meggs is a staunch advocate of the ADA. Since becoming aware of his rights,

  and their constant infringement, he has dedicated his life to this cause so that he, and others like

  him, may have full and equal enjoyment of public accommodations without the fear of

  discrimination and repeated exposure to architectural barriers.

             12.     Mr. Meggs encounters architectural barriers at the majority of the public places he

  visits. Seemingly trivial architectural features such as parking spaces, ramps, and door handles are

  taken for granted by the non-disabled but, when implemented improperly, are cumbersome,

  arduous and even dangerous for him and other wheelchair users.

             13.     The barriers to access that Mr. Meggs experiences at differing places of public


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      28 C.F.R. § 36.201(a) and 28 C.F.R. § 36.104
  3
      as defined by 28 C.F.R. § 36.105(b)(1-2)

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 4 of 14




  accommodation are similar in nature. For example, he is repeatedly faced with sloping in parking

  lots, cracks in sidewalks and asphalt, and improper restrooms and water closets (even when

  designated "accessible" or "handicapped"). He is often angered and disheartened by the

  repetitiveness of the complaints he is forced to make to employees and management, to no avail.

  Mr. Meggs is fully aware that the only way to affect change is through the ADA.

         14.     Mr. Meggs has visited the Subject Property on multiple occasions, his most recent

  visit occurred on or about April 15, 2022. On this occasion Mr. Meggs visited the Subject Property

  as a bone fide purchaser in an attempt to avail himself of the goods and services offered to the

  public within, but found that the Subject Property contained many violations of the ADA, both

  architecturally and in policy.

         15.     The Subject Property is not the type of restaurant that requires reservations, but Mr.

  Meggs intends to return on or about August 1, 2022, and/or on or about November 1, 2022, during

  his next visits to the Denver area - where he is a frequent traveler, regularly conducts business, and

  is speculating on property. He intends to revisit the Subject Property not only as a bone fide

  purchaser but also to monitor any progress made with to respect to ADA compliance.

         16.     Mr. Meggs has personally encountered exposure to architectural barriers and

  otherwise harmful conditions that have endangered his safety at the Subject Property.

         17.     The ADA has been law for over thirty (30) years and the Subject Property remains

  non-compliant. Thus, the Plaintiffs have reasonable grounds to believe that they will continue to

  be subjected to discrimination by the Defendant.

         18.     Mr. Meggs has a realistic, credible, existing and continuing threat of discrimination

  from the Defendant’s non-compliance with the ADA with respect to this property, as described,

  but not necessarily limited to, the barriers he has personally experienced which are listed in

                                                    4
Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 5 of 14




  paragraph 23 of this Complaint.

         19.     Following any resolution of this matter Mr. Meggs will ensure that the Subject

  Property undertakes the remedial work that is required under the appropriate standard and is

  compliant with the ADA. This reinspection will occur as set forth in the parties’ settlement

  agreement or as ordered by this Court.

                                              COUNT I
                                  Violation of Title III of the
                    Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.

         20.     The Plaintiffs reallege and incorporate by reference all of the allegations contained

  in all of the preceding paragraphs.

         21.     The Defendant has discriminated against the Plaintiffs, and others similarly-

  situated, by denying access to, and full and equal enjoyment of, the goods, services, facilities,

  privileges, advantages and/or accommodations of the Subject Property, as prohibited by the ADA.

         22.     A preliminary ADA inspection of the Defendant’s property has shown that

  violations of the ADAAG and the 2010 ADA Standards currently exist.

         23.     The following are architectural barriers and violations of the ADA that Mr. Meggs

  has personally encountered during his visits to the Subject Property:



  Accessible Parking, Exterior Accessible Route, Path of Travel, and Entrance Access


     a. The designated accessible parking spaces throughout the Subject Property contain sloping

         and cross-sloping beyond the allowable limits. The accessible parking also lacks adequate

         access aisles/van access aisles as they contain sloping, cross-sloping, and fail to provide

         proper identification signage; the foregoing barriers are a violation of ADAAG and Section


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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 6 of 14




        502 of the 2010 ADA Standards. The lack of adequate access aisles and the presence of

        inaccessible parking spaces has forced Mr. Meggs to park in open areas of the parking lot

        where he can freely access his vehicle.

     b. The accessible ramp used to travel from the parking area to the entrance of the restaurant

        contains excessive sloping, in violation of Section 4.8 of the ADAAG and Section 405 of

        the 2010 ADA Standards. The excessive sloping has presented Mr. Meggs with a tipping

        hazard and endangers wheelchair users.

     c. The exterior accessible route from the sidewalk and parking areas to the restaurant is not

        compliant; violations of ADAAG Section 4.3 and Sections 302.3, 402, 403, 405 and 406

        of the 2010 ADA Standards exist upon the route. Mr. Meggs was forced to travel through

        sloping, cross-sloping, abrupt changes of level, and gaps in the surface to reach the

        restaurant; these barriers present a tipping hazard and have endangered his safety.

     d. The Subject Property fails to provide a safe, compliant, and accessible route to the street

        or sidewalk; in violation of ADAAG and Section 206.2.1 of the 2010 ADA Standards. Due

        to this barrier Mr. Meggs could not access the Subject Property from those areas, limiting

        his options for access.

  Access to Goods and Services

     e. Texas T-Bone fails to provide the requisite number of accessible dining tables in violation

        of ADAAG and Section 902 of the 2010 ADA Standards. Due to the lack of accessible

        tables Mr. Meggs has been unable to dine in a comfortable manner.

     f. Payment counters throughout Texas T-Bone are mounted beyond the reach of Mr. Meggs

        and equal facilitation is not provided through policy; a violation of ADAAG and Sections

        308 and 904 of the 2010 ADA Standards. A lowered portion at the bar is not provided to

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 7 of 14




          those in wheelchairs – thus Mr. Meggs is precluded from service at the bar.

  Restrooms

     g. The restrooms within Texas T-Bone are not ADA compliant and are unsafe for use by Mr.

          Meggs. The barriers to access personally experienced by Mr. Meggs within the restrooms

          include inaccessible water closets which lack proper controls, improper grab bars,

          improperly mounted mirrors, improper door hardware, and flush controls mounted on the

          wall side; in violation of ADAAG and Section 601 of the 2010 ADA Standards.

     h.   The restrooms provide dispensers which are mounted beyond Mr. Meggs' reach, a

          violation of ADAAG and Section 308 of the 2010 ADA Standards. While using the

          restroom Mr. Meggs could not access the dispensers due to their improper location.

     i. The mirror inside the restroom is mounted too high, a violation of ADAAG and Section

          604 of the 2010 ADA Standards. Mr. Meggs could not make use of the mirror.

     j. The lavatories located within the restrooms lack the proper knee and toe clearance required,

          in violation of ADAAG and Section 606 of the 2010 ADA Standards. Mr. Meggs could

          not wash his hands in the restroom because he could neither approach nor reach the sinks.

     k. The restrooms contain improper centerlines for the water closets and flush controls which

          are mounted on the wall side; a violation of ADAAG and Section 604 of the 2010 ADA

          Standards. Mr. Meggs could not access the flush controls due to their improper location;

          thus Mr. Meggs has been unable to make full use of these restrooms without assistance.

     l. The stall door within the restroom is not self-closing and lacks proper hardware, a violation

          of Section 604 of the 2010 ADA Standards. Once inside the stall Mr. Meggs could not

          close the door without assistance.



                                                  7
Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 8 of 14




            24.      Each of the foregoing violations is also a violation of the ADA Standards for

  Accessible Design, originally published on July 26, 1991 and republished as Appendix D to 28

  C.F.R. part 36 ("1991 Standards"); the "2004 ADAAG", which refers to ADA Chapter 1, ADA

  Chapter 2, and Chapters 3 through 10 of the Americans with Disabilities Act and the Architectural

  Barriers Act Accessibility Guidelines, which were issued by the Access Board on July 23, 2004

  and codified at 36 C.F.R. § 1191, appendix B and D; and the 2010 Standards for Accessible Design

  ("2010 ADA Standards"), as promulgated by the U.S. Department of Justice.4

            25.      The discriminatory violations described in paragraph 23 may not be an exhaustive

  list of the ADA violations that exist at the Subject Property, but they are the result of a preliminary

  inspection conducted by the Plaintiffs and include all those personally experienced by Mr. Meggs.

  Plaintiffs require thorough inspection of the Defendant’s place of public accommodation to

  photograph and measure the architectural barriers which exist at the Subject Property and violate

  the ADA.

            26.      Mr. Meggs, and all others similarly situated, will continue to suffer discrimination,

  injury and damage without the immediate relief provided for by the ADA and requested herein.

            27.      Defendant has discriminated against Mr. Meggs, and all those similarly situated, by

  denying him access to full and equal enjoyment of the goods, services, facilities, privileges,

  advantages and/or accommodations of its place of public accommodation or commercial facility

  in violation of the ADA.

            28.      Defendant continues to discriminate against Mr. Meggs, and all those similarly-

  situated, by failing to remove architectural barriers, and communication barriers that are structural



  4
      28 C.F.R. § 36.104

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 9 of 14




  in nature.5

             29.     Defendant continues to discriminate against Mr. Meggs, and all those similarly-

  situated, by failing to make reasonable modifications in policies, practices, or procedures, when

  such modifications are necessary to afford all offered goods, services, facilities, privileges,

  advantages, or accommodations to individuals with disabilities.6

             30.     Defendant continues to discriminate against Mr. Meggs, and all those similarly

  situated, by failing to take such efforts that may be necessary to ensure that no individual with a

  disability is excluded, denied services, segregated, or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.7

             31.     If the Defendant’s facility is one which was designed and constructed for first

  occupancy after January 26, 19938 then the Defendant’s facility must be readily accessible to and

  useable by individuals with disabilities in accordance with the 1991 Standards.

             32.     Pursuant to 28 C.F.R. § 36.304(a)(1) "any alteration" made to the Subject Property

  after January 26, 1992, must have been made so as to ensure that, to the maximum extent feasible,

  the altered portions of the Subject Property are readily accessible to and usable by individuals with

  disabilities, including individuals, like Mr. Meggs, who use wheelchairs. An alteration is deemed

  to be undertaken after January 26, 1992, if the physical alteration of the property begins after that

  date.9

             33.     Pursuant to 28 C.F.R. § 36.304(a) Defendant shall remove all existing architectural



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      42 U.S.C. § 12181(b)(2)(A)(iv)
  6
      42 U.S.C. § 12181(b)(2)(A)(ii)
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      42 U.S.C. § 12181(b)(2)(A)(iii)
  8
      as defined by 28 C.F.R. § 36.401(a)(2)
  9
      28 C.F.R. § 36.402(a)(2)

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 10 of 14




  barriers, including communication barriers that are structural in nature, where such removal is

  readily achievable.

          34.     28 C.F.R. § 36.304(d)(2)(i) controls with respect to the corresponding technical and

  scoping specification to which each element at the Subject Property must comply with or be

  modified to meet. Those are defined as follows:

                  A.      Elements that have not been altered since on or after March 15, 2012, must

                          comply with the 1991 Standards.

                  B.      Elements that have existed prior to and have not been altered since on or

                          after March 15, 2012 that do not comply with the 1991 Standards must be

                          modified (to the extent readily achievable) to comply with either the 1991

                          Standards or the 2010 Standards.

                  C.      Elements that have been altered on or after March 15, 2012 that do not

                          comply with the 1991 Standards must be modified (to the extent readily

                          achievable) to comply with the 2010 Standards.

          35.     Plaintiffs are not required to notify Defendant of their violation of the ADA nor

  their ongoing discrimination prior to the filing of this action. To that end, Plaintiffs have found

  that voicing concerns to employees and management, making phone calls, and writing letters is

  futile. In their experience the only way to spur action and achieve the accessibility required under

  the law is to file matters, like this one, and pray for the relief contained herein.

          36.     Mr. Meggs is without adequate remedy at law and is suffering irreparable harm,

  including bodily injury consisting of emotional distress, mental anguish, suffering, and

  humiliation. Considering the balance of hardships between the Plaintiffs and the Defendant, a

  remedy in equity is warranted. The public interest would not be disserved by the issuance of a

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 11 of 14




  permanent injunction.

            37.      Pursuant to 42 U.S.C. § 12205 and 28 C.F.R. § 36.505, Plaintiffs are entitled to

  recovery of attorney's fees, costs, and litigation expenses from the Defendant.

            38.      Pursuant to 42 U.S.C. § 12188(a)(2), this Court is provided with authority to grant

  Mr. Meggs injunctive relief, including an order to require the Defendant to alter the Subject

  Property and make the Subject Property readily accessible and useable to the Plaintiffs and all

  other persons with disabilities as defined by the ADA; or by closing the Subject Property until

  such time as the Defendant cure their violations of the ADA.10

            WHEREFORE, Plaintiffs respectfully request:

                     A.      The Court issue a Declaratory Judgment determining that the Defendant is

                             in violation of Title III of the ADA.

                     B.      Injunctive relief against the Defendant including an order to make all readily

                             achievable alterations to the Subject Property; or to make the Subject

                             Property readily accessible to and usable by individuals with disabilities to

                             the extent required by the ADA; and to require the Defendant to make

                             reasonable modifications in policies, practices or procedures, when such

                             modifications are necessary to afford all offered goods, services, facilities,

                             privileges, advantages or accommodations to individuals with disabilities;

                             and by failing to take such steps that may be necessary to ensure that no

                             individual with a disability is excluded, denied services, segregated or

                             otherwise treated differently than other individuals because of the absence



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       42 U.S.C. § 12188(b)(2)

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Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 12 of 14




                             of auxiliary aids and services.

                     C.      An award of attorney fees, costs and litigation expenses pursuant to 42

                             U.S.C. § 12205.

                     D.      Such other relief as the Court deems just and proper and is allowable under

                             Title III of the Americans with Disabilities Act.


                                                   COUNT II
                                  Violation of Colorado Anti-Discrimination Act,
                                         C.S.R. § 24-34-601 et seq. (CADA)
            39.      The Plaintiffs reallege and incorporate by reference all of the allegations contained

  in all of the preceding paragraphs.

            40.      John Meggs is a disabled individual as defined by C.S.R. § 24-34-301(2.5).

            41.      Defendant’s facility is a place of public accommodation as defined by C.S.R. § 24-

  34-601(1).

            42.      Colorado law provides that no person shall be discriminated against in regard to

  public accommodations on the basis of disability.11

            43.      Pursuant to C.S.R. § 24-34-602(1) Mr. Meggs is authorized to bring a private action

  in any court of competent jurisdiction and to receive monetary damages.

            44.      Pursuant to C. S. R. § 24-34-602(1)(b) a person who violates provisions of the

  CADA based on a disability "shall be subject to the provisions of section 24-34-802." C. S. R. §

  24-34-802 allows for a court order requiring compliance with the provisions of the violated section

  of the CADA, recovery of actual monetary damages, a statutory fine not to exceed three thousand

  five hundred dollars ($3,500.00), and an award of attorney fees and costs.


  11
       C.S.R. § 24-34-601(2)(b)

                                                       12
Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 13 of 14




         45.     Pursuant to C.S.R. § 24-34-604 claims alleging violations of the CADA must be

  brought within sixty days (60) of the alleged discriminatory act, Mr. Meggs has done so here.

         46.     Pursuant to 3 CCR 708-1:60.1(A); the CADA, "is substantially equivalent to

  Federal law, as set forth in the Americans with Disabilities Act, as amended, and the Fair Housing

  Act concerning disability."

         47.     Pursuant to C.S.R. § 24-34-802(4); "a court that hears civil suits pursuant to this

  section shall apply the same standards and defenses that are available under the federal 'American

  with Disabilities Act of 1990', 42 U.S.C. § 12101 et seq., and its related amendments and

  implementing regulations."

         48.     As set forth above, Defendant has violated the Colorado Anti-Discrimination Act

  by denying Mr. Meggs, and all other disabled individuals, full and equal enjoyment of the goods,

  services, facilities, privileges, advantages, or accommodations afford to the public at a place of

  public accommodation.

         49.     As a result of the aforementioned discrimination through repeated exposure to

  architectural barriers and other harmful conditions, Mr. Meggs has sustained bodily injury in the

  form of emotional distress, mental anguish, suffering and humiliation.

         WHEREFORE, Plaintiffs respectfully request:

                 A.     That this Court assume jurisdiction.

                 B.     An injunction ordering Defendant to comply with the ADA and the CADA.

                 C.     An award of monetary damages to Mr. Meggs; to the maximum extent

                        permitted.

                 D.     Reasonable attorney fees and costs.

                 E.     An Order requiring the Defendant to maintain the required accessible

                                                 13
Case 1:22-cv-01292-PAB-STV Document 1 Filed 05/25/22 USDC Colorado Page 14 of 14




                       features at the Subject Property.

                F.     Other relief that this Court deems just and proper; and is allowable under

                       the CADA.



  Respectfully submitted on this 25th day of May 2022,

                                                     /s/ Jon G. Shadinger Jr.
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                                                14
